Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 1 of 39




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          Case No. 17-22643-Civ-COOKE/GOODMAN

   FEDERAL ELECTION COMMISSION,

          Plaintiff,

   v.

   DAVID RIVERA,

         Defendant.
   ______________________________________/
                  ORDER GRANTING PLAINTIFF FEDERAL ELECTION
                  COMMISSION’S MOTION FOR SUMMARY JUDGMENT
          THIS MATTER is before the Court upon Plaintiff Federal Election Commission’s
   Motion for Summary Judgment (the “Motion”) (ECF No. 142), filed August 10, 2020.
   Defendant David Rivera (“Rivera”) filed his response in opposition to the Motion on August
   22, 2020. ECF No. 146. Plaintiff Federal Election Commission (“FEC” or “the FEC”) filed
   its reply in support of the Motion on August 31, 2020. ECF No. 153. Accordingly, the Motion
   is ripe for adjudication.

                                          BACKGROUND
          This case stems from campaign funds related to a 2012 political campaign for a U.S.
   congressional seat. Rivera was a United States Congressman representing Florida’s 25th
   Congressional District from January 2011 through January 2013. ECF No. 1 at ¶ 6. In 2012,
   Rivera unsuccessfully ran for re-election as the Republican candidate to represent Florida’s
   redrawn 26th Congressional District. Id. Rivera lost that election to Democrat Joe Garcia
   (“Garcia”). Id. at ¶ 12. Garcia became the Democratic nominee in the 2012 general election
   after defeating three other candidates in the Democratic primary, including Justin Lemar
   Sternad (“Sternad”). Id.
          The FEC alleges that during the Democratic primary, Rivera executed a scheme to
   secretly provide funds to Sternad’s campaign to weaken Garcia, who was likely to be Rivera’s
   general election opponent. Id. at ¶¶ 1, 26. In April 2012, Rivera initiated the scheme when he
   met with his associate, Ana Sol Alliegro (“Alliegro”), and directed her to approach Sternad


                                           Page 1 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 2 of 39




   with an offer to provide financial support to his primary campaign. Id. at ¶¶ 14-15. Alliegro
   did so, and Sternad accepted the offer. Id. ¶ 15. At Rivera’s supposed direction, Alliegro then
   spent the next few months acting as an intermediary, transmitting funds to Sternad, the
   Sternad Committee, and the vendors providing services to that Committee. Id.
          Rivera moved to dismiss the initial complaint on November 22, 2017. This Court
   granted Rivera’s motion on September 27, 2018. In granting Rivera’s motion, the Court
   followed Federal Election Comm’n v. Swallow, 304 F. Supp. 3d 1113, 1115 (D. Utah 2018) where
   the District of Utah determined that Congress did not intend to create secondary liability for
   “helping and assisting” in making a contribution in the name of another when it enacted the
   Federal Election Campaign Act, and dismissed the case. Swallow, 2018 WL 1725429, at *4.
   In Swallow, the court also enjoined the FEC from enforcing § 110.4(b)(1)(iii) and ordered that
   § 110.4(b)(1)(iii) be stricken from the Code of Federal Regulations. 1 Id. Swallow was fatal to
   the FEC’s claim against Rivera because the initial complaint’s sole claim for relief – titled
   “First Cause of Action” – unambiguously stated that it arose under § 110.4(b)(1)(iii).
   Consequently, the court dismissed the initial complaint.
          The FEC filed an Amended Complaint on January 15, 2019, which is the operative
   pleading in this action. The Amended Complaint essentially asserts the same factual
   allegations as the initial complaint. See generally; Am. Compl. Importantly, however, the
   Amended Complaint does not claim that Rivera violated § 110.4(b)(1)(iii). Nor does the
   Amended Complaint seek relief under § 110.4(b)(1)(iii). Instead, the Amended Complaint’s
   sole cause of action asserts that “Defendant David Rivera knowingly and willfully violated
   52 U.S.C. § 30122; 11 C.F.R. § 110.4(b)(1)(i) (same), by making contributions in the name of
   others to Justin Lamar Sternad’s 2012 primary campaign in Florida’s 26th U.S. Congressional
   District.” ECF No. 41 at ¶ 35. Likewise, in the Amended Complaint’s prayer for relief the
   FEC seeks a declaration that Rivera knowingly and willfully violated 52 U.S.C. § 30122; 11
   C.F.R. § 110.4(b)(1)(i) by making more than $55,601 in contributions in the name of another.
   Id. at ¶ A, p. 9. Rivera moved to dismiss the Amended Complaint on February 1, 2019. The



   1
    Because it did not appear that the FEC appealed the decision in Swallow, see Docket Sheet,
   Federal Election Comm’n v. Swallow, No. 2:15-cv-439-DB (D. Utah 2018), the injunction
   remained in place.


                                            Page 2 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 3 of 39




   Court denied Rivera’s motion after holding a hearing on the same. See ECF Nos. 48 and 49.
   Accordingly, the Amended Complaint is the operative pleading in this action.
                                   APPLICABLE LEGAL STANDARDS
        I.      SUMMARY JUDGMENT STANDARD
             Summary judgment is appropriate “if the movant shows that there is no genuine
   dispute as to any material fact and the movant is entitled to judgment as a matter of law.”
   Fed. R. Civ. P. 56(a). “A district court must grant a motion for summary judgment only if the
   pleadings, depositions, answers to interrogatories, and admissions on file, together with the
   affidavits, if any, show that there is no genuine issue as to any material fact and that the
   moving party is entitled to a judgment as a matter of law.” Essex Ins. Co. v. Barrett Moving &
   Storage, Inc., 885 F.3d 1292, 1299 (11th Cir. 2018). An issue is “genuine” if a reasonable trier
   of fact, viewing all of the record evidence, could rationally find in favor of the nonmoving
   party in light of her burden of proof. Harrison v. Culliver, 746 F.3d 1288, 1298 (11th Cir. 2014).
   Similarly, a fact is “material” if, “under the applicable substantive law, it might affect the
   outcome of the case.” Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256, 1259-60 (11th Cir.
   2004). “[W]here the material facts are undisputed and do not support a reasonable inference
   in favor of the non-movant, summary judgment may properly be granted as a matter of law.”
   DA Realty Holdings, LLC v. Tenn. Land Consultants, 631 F. App’x 817, 820 (11th Cir. 2015).
             Moreover, the moving party bears the initial burden of showing the court, by reference
   to materials on file, that there are no genuine issues of material fact to be decided at trial.
   Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). “Once the moving party has met its burden,
   the burden of production shifts to the nonmoving party ‘to go beyond the pleadings and by
   [their] own affidavits, or by the depositions, answers to interrogatories, and admissions on
   file, designate specific facts showing that there is a genuine issue for trial.’” Ponders v. United
   States, 13-22876-CIV, 2014 WL 2612315, at *2 (S.D. Fla. June 11, 2014) (quoting Celotex, 477
   U.S. at 324) (emphasis added). Thus, “the nonmoving party must demonstrate more than a
   mere scintilla of evidence; if the nonmoving party's evidence is ‘merely colorable, or is not
   significantly probative, summary judgment may be granted.’” Ponders, 2014 WL 2612315, at
   *2 (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249–52 (1986)).




                                              Page 3 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 4 of 39




       II.      THE FEDERAL ELECTION CAMPAIGN ACT
             Congress passed the Federal Election Campaign Act (“FECA”) in 1971. 52 U.S.C. §§
   30101-46. Section 30122 of FECA states as follows:
             No person shall make a contribution in the name of another person or
             knowingly permit his name to be used to effect such a contribution, and no
             person shall knowingly accept a contribution made by one person in the name
             of another person.
   52 U.S.C. § 30122. In 1976, the FEC promulgated a regulation regarding FECA’s ban on
   contributions made in the name of another, which made specific reference to the two most
   common forms of such contributions: false name and conduit contributors. 11 C.F.R. §
   110.4(b). A false name contribution occurs when a person contributes to a candidate but
   falsely attributes another person as the source of the contribution; meanwhile, a conduit
   contribution reaches the same result when a person provides funds to another person (the
   conduit) who then contributes the funds to the candidate. Swallow, 304 F. Supp. 3d at 1114-
   15. Additionally, FECA further limits the dollar amounts and permissible sources of
   contributions to candidates for federal office, political parties, and political committees. 52
   U.S.C. §§ 30116(A), 30118-19, 30121.
                                              ANALYSIS
             In its Motion, the FEC contends that it is entitled to summary judgment because: 1)
   the documentary evidence and corroborating witness testimony establishes that Rivera made
   illegal in-kind contributions to the Sternad campaign; and 2) Rivera’s own statements further
   establish his liability. In response to the FEC’s Motion, Rivera argues, in his astoundingly
   concise (7-page) opposition brief, that this Court should deny FEC’s summary judgment
   motion because the only evidence provided by FEC that “seeks to directly establish” Rivera’s
   violation of 52 U.S.C. § 30122 is Alliegro’s grand jury testimony and the factual proffer that
   Alliegro provided at her change of plea hearing. According to Rivera, the problem with that
   testimony is two-fold: 1) Alliegro purportedly repudiated that testimony; and 2) that
   testimony should be disregarded because Alliegro purportedly “has not been available for
   deposition and has not provided the parties any reason to believe that she would be available
   to testify consistent with the information contained in her grand jury testimony or at the time
   she pled guilty.” ECF No. 146 at p. 3.
             Rivera goes on to argue that Alliegro’s grand jury and plea colloquy testimony are


                                             Page 4 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 5 of 39




   “blatant hearsay statements and would not be admissible at trial without the declarant being
   available for cross-examination.” Id. p. 4. Rivera also suggests that “Ms. Alliegro, in
   subsequent sworn testimony, contends that her ‘cooperation’ [in the grand jury proceedings]
   was coerced and not voluntary.” Id. at p. 5.
          As discussed below, Rivera’s arguments lack merit. Moreover, when reviewed as a
   whole, the record evidence quite obviously paints a picture showing that Rivera engaged in a
   scheme to unlawfully fund the Sternad campaign. And Rivera's opposition brief fails to rebut
   or even address much of that evidence.
              I.   THE COURT CAN PROPERLY CONSIDER ALLIEGRO’S GRAND JURY AND PLEA
                   COLLOQUY TESTIMONY AT SUMMARY JUDGMENT
                   A. ALLIEGRO DID NOT REPUDIATE HER PRIOR TESTIMONY THROUGH HER
                      FEBRUARY 14, 2019 DECLARATION
          As previously discussed, Rivera argues that the Court cannot consider Alliegro’s grand
   jury testimony nor her plea colloquy testimony in resolving FEC’s Summary Judgment
   Motion because Alliegro purportedly “has not been available for deposition and has not
   provided the parties any reason to believe that she would be available to testify consistent with
   the information contained in her grand jury testimony or at the time that she pled guilty.”
   ECF No. 146 at p. 3. Unfortunately for Rivera, on summary judgment, simply stating that a
   witness has not been available for deposition, without more, does not bar this Court from
   considering that witness’s prior testimony. Likewise, at summary judgment, it is not within
   the Court’s purview to exclude testimony because a witness has not purportedly given “the
   parties reason to believe that she would be available to testify consistent” with her prior
   testimony.
          As an initial matter, the Court finds it odd that Rivera claims that Alliegro repudiated
   her grand jury testimony as well as the statements she made at her plea colloquy, yet Rivera
   fails to cite to the Declaration in which Alliegro purportedly repudiated that sworn testimony.
   Nonetheless, the Court has reviewed the very brief Declaration, which in its entirety states as
   follows:

          I, Ana Sol Alliegro, swear and depose as follows:

          1. I reside in Miami; Florida, and I make this based on my personal
             knowledge.



                                             Page 5 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 6 of 39




          2. I have read the Amended Complaint submitted by the Federal Elections
             Commission (FEC) on January 15, 2019, in the matter of Federal Elections
             Commission v. David Rivera, which makes reference to me in several
             paragraphs; including the following:

          3. In paragraph 14 of the FEC's Amended Complaint, the FEC alleges:
             “Rivera directed Alliegro to approach Sterned with an offer of Rivera
             helping to fund Sternad’s campaign.”

          4. In paragraph 15 of the FEC’s Amended Complaint, the FEC alleges: on or
             about April 24, 2012, Alliegro spoke with Sternad and offered to transmit
             Rivera’s funds to Sternad’s campaign to which Sternad agreed.

          5. In paragraph 20 of the FEC’s Amended Complaint, the FEC alleges:
             “Following instructions from Rivera that were conveyed by Alliegro,
             Sternad falsely reported the contributions as loans from his personal fund
             to the Sternad Committee.”

          6. On June 15, 2017, I filed a complaint with the Florida Bar detailing
             previously coerced statements relating to the allegations in the FEC’s
             Amended Complaint.

          7. As With the other allegations involving me in the FEC’s Amended
             Complaint, each of the above-referenced allegations by the FEC in its
             Amended Complaint are patently false.

              I declare under penalty of perjury that this declaration is true and correct.

   ECF No. 147, Ex. G. Alliegro’s Declaration is rife with vague and ambiguous assertions, and
   it does not contain any specific facts. To be clear, the Declaration does not specifically identify
   what or how the allegations in the Amended Complaint are “patently false”. Nor does it
   identify what statements were purportedly coerced.
          After reviewing Alliegro’s Declaration, the Court now fully understands why Rivera
   did not cite to it. Put quite simply, the one-page Declaration does not state what Rivera
   contends that it states. The Declaration does not even mention Alliegro’s grand jury
   testimony. Nor does it mention her plea colloquy. As such, the Court finds that there is no
   basis for it to construe Alliegro’s Declaration to be a repudiation of her grand jury testimony
   and plea colloquy that she gave in criminal court, under penalty of perjury, five years before
   the Declaration here was purportedly executed. This is especially true given that Alliegro has
   not revoked her plea agreement with the United States, nor has she appealed her guilty verdict



                                             Page 6 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 7 of 39




   in her underlying criminal case. See United States v. Ana Alliegro, Case No. 14-20102-CR-Scola.
   Indeed, it seems that the Declaration was carefully crafted to focus on the FEC’s Amended
   Complaint as opposed to the grand jury and plea colloquy testimony to avoid potential perjury
   charges or other additional criminal charges against Alliegro. But, unfortunately for Rivera,
   Alliegro cannot have it both ways. She cannot repudiate her prior testimony, given under
   penalty of perjury during a criminal proceeding, without actually repudiating that testimony.
   Meaning that in order to revoke her prior testimony Alliegro would have to specify what
   exactly she is repudiating in her grand jury and plea colloquy testimony as opposed to making
   vague general references regarding the allegations in the Amended Complaint. To suggest
   otherwise is disingenuous and illogical. If the Court followed Rivera’s logic, then the Court
   would have to rely upon general statements in Alliegro’s one-page Declaration to infer that
   the entirety of her multiple pages of grand jury and plea colloquy testimony from the
   underlying criminal cases was repudiated by an ambiguous single-paged Declaration created
   approximately five years after her prior testimony. This the Court is unwilling to do.
                 B. ALLIEGRO DID NOT REPUDIATE HER PRIOR TESTIMONY THROUGH HER
                    FLORIDA BAR COMPLAINT AGAINST THE ASSISTANT U.S. ATTORNEY
                    THAT PROSECUTED HER
          As previously mentioned, in her Declaration, Alliegro vaguely refers to a Florida Bar
   Complaint (the “Bar Complaint”) concerning purportedly “coerced” statements she made in
   the underlying criminal cases. Rivera’s reliance upon the Alliegro Declaration’s reference to
   the Bar Complaint against Assistant U.S. Attorney Thomas Mulvihill is both misleading and
   disingenuous. It is misleading and disingenuous, in part, because, like the other allegations in
   Alliegro’s Declaration, the statements related to the Bar Complaint do not actually repudiate
   Alliegro’s prior testimony. Again, the statements related to the Bar Complaint are couched in
   terms of the Amended Complaint not Alliegro’s grand jury and plea colloquy testimony. The
   disingenuous and misleading nature of Alliegro’s statements concerning the Bar Complaint
   are further evidenced by the fact that Rivera neglected to inform the Court that the Florida
   Bar threw out the Bar Complaint prior to the filing of Rivera’s opposition brief (and prior to
   the date Alliegro purportedly signed her Declaration). ECF No. 153, Ex. 43. At best, such a
   failure was inadvertent and shows a lack of professional diligence. At worst, the failure was
   intentional and displays a lack of candor to the Court. Either way, counsel had a responsibility
   to, at least, advise the Court of the Florida Bar’s dismissal of the Bar Complaint. The scenario


                                            Page 7 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 8 of 39




   presented here is no different than a scenario in which a party urges the Court to rely upon an
   overturned judicial opinion without advising the Court that said decision was overturned. As
   such, counsel for Rivera is advised to refrain from such conduct in the future.
          Despite the fact that Alliegro’s Bar Complaint was dismissed prior to the filing of
   Rivera’s opposition brief, the Court has reviewed the Bar Complaint and has determined that,
   like Alliegro’s Declaration, the Bar Complaint relies upon ambiguous, generic, and
   conclusory allegations that lack sufficient specificity to repudiate Alliegro’s grand jury and
   plea colloquy testimony. For the sake of brevity, the Court will not enumerate and analyze
   each instance that supports this conclusion; however, the Court will point out a few examples
   to provide clarity. One such example relates to Alliegro’s suggestions in the Bar Complaint
   that her grand jury testimony was purportedly “coerced” or “involuntary”. For instance, the
   Bar Complaint states:
          [o]n December 18th, 2014, in accordance with my coerced involuntary plea
          agreement, I testified before a federal grand jury in Fort Lauderdale, Florida in
          the presence of Mr. Mulvihill. My legal counsel was outside the grand jury
          room waiting for me to conclude my testimony. Mr. Mulvihill had spoken to
          my counsel prior to entering the grand jury room and was aware that my
          counsel was waiting for me outside the grand jury room. At the conclusion of
          my testimony inside the grand jury room, Mr. Mulvihill escorted me to a
          connected grand jury ante room. For over twenty minutes, Mr. Mulvihill
          proceeded to discuss grand jury subject matter with me and made several
          attempts to coerce further involuntary testimony. When Mr. Mulvihill finally
          allowed me to leave the ante room, I reported this inappropriate
          communication to my counsel.
   ECF No. 147-5, Ex. E at p. 7 (emphasis added). See also id. at pp. 8-9 (asserting
   additional conclusory and ambiguous allegations of coercion). The problem with these
   assertions is that they do not specify what about Alliegro’s grand jury testimony was
   purportedly coerced. Nor did Alliegro indicate in her Bar Complaint what specific
   statements in her grand jury testimony were purportedly false. The transcript of
   Alliegro’s grand jury testimony is forty-five pages in length; ambiguous, conclusory,
   and generic assertions in a Bar Complaint that the Florida Bar already dismissed before
   the opposition brief was even filed are insufficient to repudiate such grand jury
   testimony.
          Furthermore, Alliegro’s statements during her plea colloquy directly
   undermine her newly asserted claims of coercion. To be clear, the transcript of


                                            Page 8 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 9 of 39




   Alliegro’s plea colloquy, in pertinent part, reflects that U.S. District Judge Robert N.
   Scola had the following conversation with Alliegro:
                 Judge Scola: All right. And prior to today, have you received a copy of
          the Indictment which is the formal charging document that sets forth the
          charges against you?

                 Alliegro: Yes.

                 Judge Scola: Have you had a chance to speak to your attorneys about
          those charges, about, in general, what type of evidence the Government may
          have against you and about any possible defenses you may have in the case?

                 Alliegro: Yes.

                 Judge Scola: Have you also spoken to them about the decision whether
          to plead guilty or go to trial?

                 Alliegro: Yes.

                 Judge Scola: Are you fully satisfied with the representation and advice
          that has been provided to you by your attorneys?

                 Alliegro: Yes.

                 Judge Scola: Is there anything concerning their representation or advice
          that you are not satisfied with?

                 Alliegro: No.

                 [. . .]

                 Judge Scola: Other than what was announced in open court a few
          minutes ago, have any additional promises been made to you in order to get
          you to plead guilty today?

                 Alliegro: No, sir.

                Judge Scola: Has anybody forced you, threatened you or coerced you in
          any way to get you to plead guilty?

                 Alliegro: No.

                 Judge Scola: Are you pleading guilty of your own free will because you
          are guilty?




                                            Page 9 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 10 of 39




                  Alliegro: Yes.

    FEC Mot. Summ. J., Ex. 25, ECF No. 142-28, at 7-10 (11:05:50-11:06:33 and
    11:08:27-11:08:47). Thus, Judge Scola provided Alliegro with multiple opportunities
    to advise him that she was purportedly coerced or forced into pleading guilty or even
    that she was unsatisfied with the legal representation that she received; however,
    Alliegro made no mention of coercion. Nor did she advise Judge Scola that she was
    not satisfied with her counsel. Instead, Alliegro confirmed just the opposite. She also
    confirmed that she pled guilty of her own free will because she was guilty. This directly
    contradicts Alliegro’s Bar Complaint.
           Likewise, Alliegro’s grand jury testimony directly contradicts the Bar
    Complaint’s allegations that she was purportedly coerced into pleading guilty. The
    relevant grand jury testimony in question was as follows:
           Q.     Now, you talked to – your lawyers were present when you decided to
           plead guilty, correct?

           A.     Yes.

           Q.     Was agent Vance present when you decided to plead guilty?

           A.     Yes, he was.

           Q.     Was I also present then?

           A.     Yes, you were.

           Q.     And you had agreed to plead guilty and take your chances with the
           judge, correct?

           A.     Correct.

           Q.     You were not promised anything for pleading guilty?

           A.     No, I was not. In fact, I did a lot of time before I even pleaded guilty so,
           no, I was not promised anything by you or the government or anyone else.

           Q.      And actually, at your sentencing I actually recommended more time,
           didn’t I?

           A.     Yes, you did.



                                             Page 10 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 11 of 39




           Q.     But the judge gave you less?

           A.     Thank you, Judge Scola. He didn’t give me less time. He just let me
           spend it at home. He did still give me a year. Tom, you still asked for that whole
           year in jail, in a maximum federal penitentiary.
    FEC Mot. Summ. J., Ex. 2, ECF No. 142-2, at 45-46. Accordingly, Alliegro unequivocally
    testified, in a very detailed manner, that she was not promised anything for pleading guilty.
    Nor did she indicate that her guilty plea was involuntary.
           In her Bar Complaint, Alliegro also claims that Assistant U.S. Attorney Thomas
    Mulvihill gave false testimony at her pretrial detention hearing concerning her travel to
    Colombia and Nicaragua and that purportedly false testimony resulted in Alliegro being
    denied pretrial release; however, a review of the transcript of Alliegro’s pretrial detention
    hearing reveals that Alliegro’s assertions, once again, are not accurate. More specifically, in
    granting the Government’s motion to deny Alliegro pretrial release, U.S. Magistrate Judge
    Alicia M. Otazo-Reyes stated:
           I note that the government is traveling under risk of flight, and the burden on
           the government for that is preponderance of the evidence. I note that the
           defendant left once and then left again. That’s twice. The first time around she
           did not show up for an appointment. The second time around, after turning
           over a passport used the convenience of a Grey Hound bus to get across the
           border and travel to Nicaragua. I think that those facts together with the
           strength of the evidence against the defendant make a finding of preponderance
           of the evidence that she presents a risk of flight; one that this court can
           comfortably make, and for that reason the court will grant the motion. I do note
           that the conversations regarding the potential exposure are not appropriate
           before this court. That is a decision that goes to Judge Scola, although I do take
           that into account in terms of assessing the risk of flight. In this case we have
           actual departure from this country on two occasions. So I don't need to guess
           what Judge Scola's sentence would be.
    Transcript of Pretrial Detention Hearing, at 40-42, United States v. Ana Alliegro, Case
    No. 14-CR-20102-SCOLA/OTAZO-REYES (S.D. Fla. April 11, 2014), ECF No. 34. 2


    2
      The Court notes that the transcript of Alliegro’s Pretrial Detention Hearing was not filed in
    this case; however, the Court, on its own initiative, takes judicial notice of the Pretrial
    Detention Hearing Transcript. See Philippeaux v. City of Coral Springs, 19-60617-CIV, 2020 WL
    2846531, at *2 (S.D. Fla. June 2, 2020) (taking judicial notice of state court transcripts and
    stating “[t]he Court may take judicial notice of the transcript because it is a public record.”);
    see also Herrera v. Bank of Am., N.A., 15-CV-62156, 2016 WL 4542105, at *1 (S.D. Fla. Aug. 31,
    2016) (recognizing that “[t]he Court may judicially notice a fact when it ‘can be accurately


                                             Page 11 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 12 of 39




    Thus, at Alliegro’s pretrial detention hearing, Judge Otazo-Reyes expressly held that
    she was granting the Government’s motion to detain Alliegro until her trial due to the
    fact that Alliegro fled the United States on two separate occasions under circumstances
    that provided sufficient evidence that Alliegro posed a flight risk. Additionally, it
    should be noted that Alliegro was represented by counsel at the pretrial detention
    hearing and said counsel was afforded an opportunity to cross examine the
    Government’s witnesses (which counsel declined, id. at 17) as well as to challenge the
    findings contained within the pretrial services report (which counsel did challenge, see,
    e.g. id. at 25).

            Similarly, Alliegro’s grand jury testimony undermines her Bar Complaint’s allegations
    that she was coerced into testifying before the grand jury. More specifically, that grand jury
    testimony states:
            Q.     Ms. Alliegro, are you here pursuant to a grand jury subpoena that was
            served upon you?

            A.         Yes, sir, I am.

            Q.         Are you represented by a lawyer?

            A.         Yes, sir.

            Q.         Who?

            A.         I have more than one. The lead counsel is Richard Klugh.

            Q.         And who is the other one?

            A.         John Bergendahl, Lorenzo Polamares.

            Q.    Are those lawyers available to you if you have any questions today that
            you wish to put to them?

            A.         Yes. I have two lawyers standing outside right now.

    and readily determined from sources whose accuracy cannot reasonably be questioned.’”
    (citing Fed. R. Evid. 201(b)(2)).




                                               Page 12 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 13 of 39




           Q.     Which ones?

           A.    I don't know the last name of Cynthia but she was sent over by Richard
           Klugh and Lorenzo Palomares.

           Q.      And if at anytime you feel the need to consult with your lawyers, please
           let the grand jurors know and the grand jurors will afford you a reasonable
           opportunity to go and consult with your lawyers.

           A.     I appreciate it.
    FEC Mot. Summ. J., Ex. 2, ECF No. 142-5m at 2:14-3:10. Accordingly, Alliegro
    unequivocally stated, in a very detailed manner, that her testimony before the grand jury was
    pursuant to a subpoena and that she had counsel at the grand jury proceeding with whom she
    could have consulted if necessary. Notably, in her Bar Complaint, Alliegro did not assert that
    she was prevented from consulting with her counsel during her grand jury testimony. Nor did
    she contend that she was precluded from consulting with counsel before or after her grand
    jury testimony. And, importantly, Alliegro testified before the grand jury on December 18,
    2014; however, Alliegro’s Bar Complaint is dated June 15, 2017. 3 Thus, Alliegro submitted
    her Bar Complaint more than three years after she gave her grand jury testimony. And, Rivera
    has not presented any evidence indicating that Alliegro took any steps to withdraw or
    repudiate her grand jury testimony prior to the filing of the Declaration in this case. These
    factors all counsel against a finding that Alliegro’s Bar Complaint is a more reliable form of
    evidence than Alliegro’s sworn grand jury and plea colloquy testimony.
           In conclusion, based upon the above analysis, the Court finds that the conclusory and
    ambiguous Alliegro Declaration, including the Bar Complaint incorporated therein, is
    insufficient to repudiate Alliegro’s prior detailed grand jury and plea colloquy testimony.
    Furthermore, the Court finds that the Alliegro Declaration, and its incorporated Bar
    Complaint, are akin to a sham affidavit with the only exception being that they were made by
    a nonparty. Cf. Madaio v. Fed. Bureau of Investigation, CV-06-BE-00904-S-KOB, 2008 WL
    11392887, at *5 (N.D. Ala. Mar. 31, 2008) (stating “[p]resumably, Madaio and his attorney

    3
      Alliegro’s Bar Complaint was notarized, by Jason Garcia (Notary Commission Number GG
    102865), on June 16, 2017. ECF No. 147-5, Ex. E at p. 9. In a “curious” twist of fate, Jason
    Garcia notarized both Alliegro’s Bar Complaint as well as her Declaration filed in this case
    (see ECF No. 147-7, Ex. G at p. 2).


                                            Page 13 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 14 of 39




    are traveling under the assumption that Madaio may file an affidavit in the instant case to
    defeat summary judgment against him even if the affidavit testimony contradicts his plea and
    sworn testimony in the underlying criminal case. That assumption is mistaken[,] and this
    court will not countenance the filing of a sham affidavit.”) (citing Van T. Junkins v. U.S. Indus.,
    Inc., 736 F.2d 656 (11th Cir. 1984); Tippens v. Celotex Corp., 805 F.2d 949, 953-54 (11th Cir.
    1986)). Much like the Court in Madaio, the Court here will not countenance the use of a
    “declaration” to undermine prior detailed sworn testimony voluntarily given in a long since
    resolved criminal prosecution.
                   C. ALLIEGRO’S GRAND JURY AND PLEA COLLOQUY TESTIMONY ARE
                      NOT PRECLUDED HEARSAY EVIDENCE AT SUMMARY JUDGMENT
           Next, Rivera argues that Alliegro’s grand jury and plea colloquy testimony are
    improper hearsay that should not be considered at summary judgment. In making this
    argument, Rivera insinuates without any evidence that Alliegro will not be available to testify
    at trial and, therefore, her grand jury and plea colloquy testimony would be inadmissible at
    trial. Rivera’s insinuations are disconcerting given Alliegro’s prior “departures” from the
    United States during the underlying criminal cases. It is not clear whether Rivera has
    knowledge or information concerning Alliegro’s whereabouts that the Court lacks or whether
    Rivera’s suggestions are mere puffery. Nonetheless, the Court finds that it can properly
    consider Alliegro’s grand jury and plea colloquy testimony in ruling on FEC’s Motion for
    Summary Judgment.
           “[T]he appropriate question is not whether the [grand jury and plea colloquy
    testimony] would ever be admissible—they may not be. Instead, the question is whether the
    evidence contained within [that sworn testimony] could be presented in an admissible form
    at trial.” Fed. Trade Comm'n v. Lanier Law, LLC, 715 F. App’x 970, 978-79 (11th Cir. 2017).
    See also Morera v. Sears, Roebuck & Co., 141 F. Supp. 3d 1335, 1338 (S.D. Fla. 2015), aff'd, 652
    F. App’x 799 (11th Cir. 2016) (holding that the district court could consider a sworn statement
    at summary judgment over the nonmoving party’s hearsay objection because the sworn
    statement satisfied the requirements of Rule 56(c)”) (citing Ash v. Sambodromo, LLC, 676
    F.Supp.2d 1360, 1372 (S.D. Fla. 2009) (considering sworn statement on motion for summary
    judgment over non-movant's hearsay objection).
           Pursuant to Rule 56(c)(4), “[a]n affidavit or declaration used to support or oppose a



                                              Page 14 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 15 of 39




    motion [for summary judgment] must be made on personal knowledge, set out facts that
    would be admissible in evidence, and show that the affiant or declarant is competent to testify
    on the matters stated.” Fed. R. Civ. P. 56(c)(4). Here, Rivera does not make any arguments
    suggesting that Alliegro’s grand jury and plea colloquy testimony do not satisfy the
    requirements of Rule 56(c)(4). Regardless of Rivera’s silence on this point, the Court finds
    that Rivera’s testimony does in fact satisfy the requirements of 56(c)(4). There is no basis to
    conclude otherwise. As a consequence, the Court will consider Alliegro’s grand jury
    testimony as well as her plea colloquy testimony in resolving FEC’s Motion for Summary
    Judgment.
            II.      EVIDENCE ESTABLISHING RIVERA’S LIABILITY FOR VIOLATION OF 52 U.S.C.
                     § 30122; 11 C.F.R. § 110.4(B)(1)(i)
                  1. ALLIEGRO’S GRAND JURY AND PLEA COLLOQUY TESTIMONY
           It is no surprise that Rivera sought to preclude the Court from considering Alliegro’s
    grand jury and plea colloquy testimony in resolving FECs Motion as that testimony is very
    damning for Rivera. For the sake of brevity, the Court will outline the highlights of that
    testimony as follows:
           •      Alliegro and Rivera developed a plan that involved “Lamar Sternad who
                  had already had a website going and everything and [Rivera] ordered
                  [Alliegro] to go and try to finance [the Justin Lemar Sternad Campaign] to
                  a certain point to divide the vote for Congressman Joe Garcia so that
                  [Rivera] would have an easier opponent.” FEC Mot. Summ. J., Ex. 2, ECF
                  No. 142-5, 12:4-12.

           •      As part of this plan, Alliegro and Jenny Nillo met Rivera at the Catch of the
                  Day Restaurant in Miami, Florida. Id. 12:13-18.

           •      After the meeting at the Catch of the Day Restaurant, Alliegro reached out
                  to Sternad because she was directed to do so by Rivera. Id. 12:25-13:1-5.

           •      Alliegro and Jenny Nillo met with Sternad at Miller’s Ale House in South
                  Miami. Id. 13:15-14:1-5.

           •      During her meeting with Sternad and Jenny Nillo at Miller’s Ale House,
                  Alliegro offered to provide Sternad with “financial assistance, assistance
                  with his mailers . . . strategic assistance, any kind of assistance, media
                  assistance, [and] publicity [assistance]” for his campaign. Id. 14:6-11.




                                               Page 15 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 16 of 39




         •   Alliegro provided Sternad with a cellphone for his personal use and to use
             for his campaign. Id. 15:2-9.

         •   Sternad lacked the financial resources to pay the $10,440 qualifying fee for
             his campaign. Id. 16:9-10.

         •   Alliegro assisted Sternad with paying the $10,440 campaign qualifying fee
             by getting the money from Rivera and then depositing the money into
             Sternad’s campaign bank account so that the fee could be paid from that
             account. Id. 16:5-17:20:7.

         •   The money to pay the $10,440 qualifying fee was deposited into Sternad’s
             campaign bank account at two TD Bank branch locations in Washington,
             D.C. Id. 20:4-21:1; see also id. 23:21-24:3.

         •   Rivera informed Alliegro that he [Rivera] through his agent Bill Helmich
             would file Sternad’s campaign qualifying documents in Tallahassee,
             Florida. 19:23-20:3.

         •   Rivera gave Alliegro the receipts for the two deposits made into Sternad’s
             campaign bank accounts in Washington DC, and Alliegro then passed
             those receipts along to Sternad. Id. 20:24-21:4.

         •   The envelope that held Sternad’s deposit receipts and his campaign
             qualifying paperwork (that had been filed with the Florida Department of
             State Division of Elections) also held the qualifying paperwork for Rivera’s
             congressional campaign. Id. 21:5-12.

         •   Rivera gave Alliegro $1,060, in cash, to pass along to Sternad so that
             Sternad could rent a car to use for his campaign activities. Id. 21:20-22:20.

         •   At the behest of Rivera, Alliegro worked with Henry Barrios and Yolanda
             Rivas to create eleven flyers, in 72 hours, for the Sternad Campaign. 24:15-
             25:21.

         •   Once the flyers were completed, Rivera gave Alliegro cash to give to
             Yolanda Rivas to pay for her services in working on the eleven flyers for the
             Sternad Campaign; the amount Rivera provided to Alliegro for payment to
             Yollanda Rivas, however, was $100 below the amount due so Rivera gave
             Alliegro a $100 bill for Alliegro to give to Yolanda Rivas for payment in
             full. Id. 25:24-26:5.

         •   Rivera worked with Alliegro, Yolanda Rivas, and Sternad (who was on the
             telephone during the process) in designing the eleven flyers. Id. 26:6-11.




                                          Page 16 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 17 of 39




         •   In addition to the cash paid to Yolanda Rivas for the graphics work related
             to the flyers, Alliegro also paid Expert Printing for the actual printing of the
             flyers; Alliegro made that payment by delivering the payment in cash to
             Henry Barrios. Additionally, “there was $5,000 in cash delivered by
             Sunshine State Messenger Service” Id. 26:12-23.

         •   Rapid Mail and Computer Services mailed the flyers that Expert Printing
             printed according to the schedule that Rivera and Alliegro provided them
             with. Id. 26:24-27:16.

         •   Alliegro “believed” that Rapid Mail and Computer Services also mailed the
             flyers to the addresses listed in a zip drive that Hugh Cochran provided to
             Rivera. Id. 27:14-25.

         •   At the request of Rivera, Alliegro used Sunshine State Messenger Service
             “to pay off a bunch of people that I had to pay for Lamar Sternad’s
             campaign because David, you know, asked me to do this for him.” Id. 29:2-
             4.

         •   When Alliegro paid Rapid Mail she always paid in cash and she received
             that cash from Rivera. Id. 29:9-14.

         •   Alliegro received the cash to pay Expert Printing from Rivera. Id. 29:15-17.

         •   Alliegro paid in cash, funded by Rivera, for robocall services supporting the
             Sternad Campaign.

         •   Rivera and Alliegro strategically renamed the Sternad Campaign from the
             Justin Lamar Sternad Campaign to the Lamar Sternad Campaign to
             confuse African American voters. Id. 31:10-20.

         •   Alliegro and Rivera arranged the original script for the Sternad Campaign’s
             robocalls. Id.

         •   The Sternad Campaign’s robocalls were targeted and directed to the African
             American community. Id. 30:11-14.

         •   The Sternad Campaign’s robocalls “were done through Urban Initiatives,
             Inc.” by Willis Howard, but Rivera “mainly dealt with him. So [Alliegro]
             only had two or three conversations with” Willis Howard. Id. 30:17-31:8.

         •   Alliegro paid Willis Howard, in cash, and Rivera funded those cash
             payments. Id. 31:21-32:4.




                                           Page 17 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 18 of 39




         •   After speaking with Rivera, Alliegro advised Sternad to report the funds
             that were deposited into the Sternad Campaign’s TD Bank account in
             Washington, D.C. to the FEC as a loan and then “go ahead and amend it
             later, because David supposedly had another plan of how he was going to
             take care of all this.” Id. 32:18-33:1. However, those funds were not a loan.
             Id. 33:3-4.

         •   The funds that were used to pay for the rental car, the printing, and mailing
             were not reported initially on the FEC’s Disclosure Form. Id. 33:5-13.

         •   Alliegro participated with Sternad in filing a false disclosure form with the
             FEC concerning the funds used to pay for the rental car as well as the
             printing and mailing services. Id. 34:4-8.

         •   Alliegro travelled to Nicaragua after her apartment was searched and a
             subpoena to appear before the grand jury was issued to her because “David
             [Rivera] thought, and I, that it would be a good idea that I go away for a
             while and let the scandal die down once again.” Id. 34:9-20.

         •   On September 5, 2012, the day before Alliegro was supposed to report to
             the grand jury, Rivera and Alliegro “packed [Alliegro’s] things that [Rivera]
             thought were necessary items for [Alliegro] to have and [that Alliegro]
             thought were necessary and [they] went and checked into a hotel and then
             [Rivera] went and got a ticket for [Alliegro] to travel to Nicaragua. In the
             morning [Rivera and Alliegro] went to go see a friend . . . and [afterwards
             Rivera] gave [Alliegro] the ticket . . . and [Alliegro] got on a plane and left
             to Nicaragua.” Id. 35:4-12.

         •   In October of 2013, upon the advice of counsel, Alliegro returned to the
             United States whereupon she was interviewed by Assistant U.S. Attorney
             Thomas Mulvihill for two days and she left her passport with the FBI as a
             “token of good faith.” Id. 36:19-25.

         •   After her interview with the Assistant U.S. Attorney, Rivera approached
             Alliegro and told her that he could get her to Mexico so Rivera and Alliegro
             drove to Orlando where they then flew to Houston and from Houston
             Rivera and Alliegro crossed the border into Mexico. Id. 36:2-18.

         •   Once in Mexico, Rivera gave Alliegro a passport and Alliegro flew to
             Nicaragua. Id. 36:25-37:1.




                                           Page 18 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 19 of 39




    Notably, Alliegro’s grand jury testimony mirrored the factual proffer put forward
    during Alliegro’s plea colloquy (which Alliegro, at the time of her guilty plea, agreed
    was true and correct as to her conduct). See FEC Mot. Summ. J., Ex. 25, ECF No.
    142-28.
           Based upon Alliegro’s grand jury and plea colloquy testimony it is quite obvious that
    Alliegro served as the “middleman” to assist Rivera in his efforts to illegally fund the Justin
    Lamar Sternad Congressional Campaign. Alliegro’s testimony, however, is not the only
    source of evidence of her role in assisting Rivera’s illegal campaign contributions. As
    discussed below, Alliegro’s testimony is buttressed by the sworn testimony of no-less than six
    independent witnesses: Jenny Nillo, Henry Barrios, Yolanda Rivas, Hugh Cochran, John
    Borrero, and Justin Sternad.
                  2. TESTIMONIAL EVIDENCE FROM JUSTIN LAMAR STERNAD
           During his deposition, Sternad testified that prior to April of 2012 the only donation
    that he received to his campaign was an in-kind donation of assistance building a campaign
    website from his co-worker at the Wyndham Gardens Hotel, Jesse Pupparo (who worked as
    a front desk clerk). FEC Mot. Summ. J., Ex. 5, ECF No. 142-8, Sternad Dep. 32:14-33:9.
    Sternad also testified during his deposition that Alliegro informed him that Rivera “took care
    of” Sternad’s campaign qualifying filing fee. More specifically, that deposition testimony was
    as follows:
           Q.     Did Ana Alliegro ever tell you that David Rivera paid for your
           qualifying fee?

           A.       Yes.

           Q.       Okay. How did she say that?

           A.       She told me he took care of it.

           Q.       He took care of it?

           A.       Uh-huh.

           Q.       Do you know what that means; did she expound upon that?

           A.     Well, since money went into the account and was there for the check
           that was written to the state, I am going to take it that that meant that he
           deposited the money.


                                              Page 19 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 20 of 39




               Q.     In your mind, that's what it means; correct?

               A.     Correct.

    Id. at 68:4-18. Sternad also testified, in his Declaration, that:
               Sometime after deposits were made into my ‘Justin Sternad Congress’ account
               with TD Bank to cover the $10,440 fee to qualify me in the primary election,
               Ms. Alliegro handed me an envelopethat [sic.] contained the deposit receipts
               and the paperwork that someone had filed with the Florida Department of State
               Division of Elections to qualify me in the election. Also in that envelope was
               aFederal [sic.] Express label and receipt with a notation for the qualification fee
               forCongressman [sic.] David Rivera’s congressional campaign. At that point, I
               began to suspect that Mr. Rivera was involved with Ms. Alliegro and my
               campaign in some way.

    FEC Mot. for Summ. J., Ex. 32, ECF No. 142-32, Sternad Dec. ¶ 5. Further, with respect to
    his campaign materials, Sternad testified that:
               From on or about July 2012 until August 2012, various vendors designed,
               created, and mailed flyers and other campaign materials for my campaign.
               Although I may have reviewed these flyers and provided some minor edits, I
               did not otherwise have anything to do with designing, creating or mailing these
               flyers, nor did I provide any funds to pay any vendor for work associated with
               these flyers.

    Id. ¶ 7.
               Overall, Sternad admitted, as part of the factual proffer supporting his guilty plea, that
    he accepted over $70,000 in illegal campaign contributions. United States v. Justin Lamar
    Sternad, No. 1:13-cr-20108 (S.D. Fla. Mar. 15, 2013), ECF No. 13 at 8. 4 To be clear, the


    4
      The factual proffer supporting Sternad’s guilty plea was not filed in this case; however, the
    transcript of Sternad’s sentencing was filed with the Court as an exhibit to the FEC’s Motion
    for Summary Judgment. Moreover, the factual proffer in question was referred to in Sternad’s
    deposition. FEC Mot. Summ. J., Ex. 5, ECF No. 142-8, Sternad Dep. 66:25-67:4. As such,
    the Court finds that the factual proffer supporting Sternad’s guilty plea is part and parcel of
    the record presently before this Court. Furthermore, the document entitled Factual Basis of the
    Plea of Guilty, in which the factual proffer supporting Sternad’s guilty plea is asserted, is an
    authentic record filed with this Court in United States v. Sternad, Case No. 13-cr-20108-CMA
    (at ECF No. 13); therefore, the Court takes judicial notice of the factual proffer supporting
    Sternad’s guilty plea. See Phillips v. City of W. Palm Beach, 18-CV-80172, 2018 WL 3586179, at
    *5 (S.D. Fla. July 26, 2018) (“Because the Factual Proffer is both authentic and relevant to
    Plaintiff's claim, the Court will also take judicial notice of the document.”).



                                                 Page 20 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 21 of 39




    factual proffer supporting Sternad’s guilty plea stated the following:
               •   On or about May 25,2012, a co-conspirator hand-delivered $500, in cash, to
                   JUSTIN LAMAR STERNAD, of which $300 was subsequently deposited into
                   the account of “Justin Sternad for Congress”, account number xxx-xxxI570.

               •   On or about July 10, 2012, defendant JUSTIN LAMAR STERNAD signed
                   and mailed a FEC Form 3 to the Federal Election Commission on behalf of the
                   ‘Justin Sternad for Congress’ committee but failed to report the aforementioned
                   cash contribution which was received on or about May 25, 2012. Instead,
                   defendant JUSTIN LAMAR STERNAD falsely claimed the aforementioned
                   cash contribution was a loan from his personal funds to the “Justin Sternad for
                   Congress” committee.

               •   On or about June 7, 2012, a deposit of $5,000, in cash, was made into the
                   account of “Justin Sternad for Congress”, account number xxx-xxxI570, at a
                   TD Bank branch. On or about June 8, 2012, a deposit of $5,500, in cash, was
                   made into the account of “Justin Sternad for Congress”, account number xxx-
                   xxxI570, at another TD Bank branch.

               •   On or about June 8, 2012, check number 301, payable to the Department of
                   State, in the amount of $10,440, drawn on the account of “Justin Sternad for
                   Congress”, account number xxxxxx1570 at TD Bank was provided to the
                   Florida Department of State Division of Elections with the notation
                   “Qualifying Fee 2012.”

               •   On or about July 10, 2012, defendant JUSTIN LAMAR STERNAD signed
                   and mailed a FEC Form 3 to the Federal Election Commission on behalf of the
                   “Justin Sternad for Congress” committee but failed to report a contribution of
                   $5,000, in cash, which was received on June 7, 2012 and a contribution of
                   $5,500, in cash, which was received on June 8, 2012 by the “Justin Sternad for
                   Congress” committee, TD Bank account number xxx-xxxI570. Instead,
                   defendant JUSTIN LAMAR STERNAD falsely claimed the aforementioned
                   cash contributions were loans from his personal funds to the “Justin Sternad
                   for Congress” committee.

               •   On or about July 10, 2012, defendant JUSTIN LAMAR STERNAD signed
                   another FEC Form 2 Statement of Candidacy which amended his previously
                   filed FEC Form 2 and designated the ‘Lamar Sternad for Congress’ committee
                   as his principal campaign committee for the Democratic Party primary election
                   for Florida's 26th Congressional District.

               •   On or about July 2, 2012, a co-conspirator deposited $1,060, in cash, into the
                   account of Justin Sternad, account number xxxxxx4360, at Wells Fargo Bank,
                   N.A.




                                             Page 21 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 22 of 39




            •   On or about July 2, 2012, defendant JUSTIN LAMAR STERNAD rented a
                motor vehicle from Enterprise Rent-A-Car to be used in his campaign for the
                Democratic Party primary election for Florida’s 26th Congressional District.

            •   On or about July 14, 2012, co-conspirators met with a graphic designer to
                develop flyers for the political campaign of defendant JUSTIN LAMAR
                STERNAD. On or about July 15, 2012, co-conspirators met, again, with the
                graphic designer to develop flyers for the political campaign of defendant
                JUSTIN LAMAR STERNAD.

            •   While working together during the weekend of July 14-15, 2012, a co-
                conspirator hand-delivered $2,600, in cash, to the graphic designer for the
                designer’s work in developing the flyers.

            •   On or about July 23,2012, a co-conspirator hand-delivered $10,000, in cash, to
                Inkpressions, Inc. d/b/a Expert Printing & Graphics, the printer of the
                aforementioned flyers.

            •   From on or about July 17, 2012 through on or about July 24, 2012,
                approximately $15,901.35, in cash, was delivered to Rapid Mail & Computer
                Services, Inc. for mailing the aforementioned flyers.

            •   On or about July 31, 2012, defendant JUSTIN LAMAR STERNAD signed
                and mailed a FEC Form 3 on behalf of the “Lamar Sternad for Congress”
                committee to the Federal Election Commission but failed to report the
                aforementioned contributions which were received between July 1, 2012 and
                July 25, 2012.

            •   On or about August 2, 2012, a co-conspirator provided $5,000, in cash, to
                Inkpressions, Inc. d/b/a Expert Printing & Graphics.

            •   From on or about August 2, 2012 through on or about August 8, 2012,
                approximately $22,100, in cash, was delivered to Rapid Mail & Computer
                Services, Inc. for their services in mailing the aforementioned flyers.

            •   On or about August 9, 2012, a co-conspirator hand-delivered check number
                8939, in the amount of $13,824.85, payable to Expert Printing, drawn on
                account xxxxxx-9803 at Bank United, to Inkpressions, Inc. d/b/a Expert
                Printing & Graphics.

            •   On or about August 9, 2012, at the request of a co-conspirator, Inkpressions,
                Inc. d/b/a Expert Printing & Graphics issued check number 9998, in the
                amount of $9,000, payable to Rapid Mail, which was subsequently delivered to
                Rapid Mail & Computer Services, Inc.

            •   On or about August 17, 2012, defendant JUSTIN LAMAR STERNAD signed


                                         Page 22 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 23 of 39




                   and mailed FEC Form 3 on behalf of the “Lamar Sternad for Congress”
                   committee to the Federal Election Commission but failed to report the
                   aforementioned contributions which were received between July 26, 2012 -
                   August 17, 2012. Instead, defendant JUSTIN LAMAR STERNAD falsely
                   claimed the aforementioned contributions were loans from his personal funds
                   to the “Lamar Sternad for Congress” committee.

               •   On or about August 17, 2012, in Miami-Dade County, in the Southern District
                   of Florida, and elsewhere, the defendant, JUSTIN LAMAR STERNAD, in a
                   matter within the jurisdiction of the executive branch of the United States,
                   knowingly and willfully made a materially false, fictitious, and fraudulent
                   statement and representation in that the defendant represented on a FEC Form
                   3 filed on behalf of the “Lamar Sternad for Congress” committee with the
                   Federal Election Commission that he had made loans in the amount of
                   $63,801.70 from his personal funds to the “Lamar Sternad for Congress"
                   committee when as the defendant well knew and believed that he had loaned
                   less than $300.00 from his personal funds to the “Lamar Sternad for Congress”
                   committee.

               •   During calendar year 2012, in Miami-Dade County, in the Southern District of
                   Florida, and elsewhere, the defendant, JUSTIN LAMAR STERNAD, while a
                   candidate for federal office, knowingly and willfully accepted contributions in
                   excess of the limits of the Federal Election Campaign Act, which aggregated at
                   least $25,000. In fact, the value of the illegal transactions exceeded $70,000.

    Id. at 3-8. Thus, Sternad’s factual proffer supporting his guilty plea both corroborates and fills
    in the blanks in Alliegro’s grand jury and plea colloquy testimony.
               3. DECLARATION OF JENNY NILLO
           In her Declaration, Jenny Nillo (“Ms. Nillo”) testified that she met with Alliegro and
    Rivera at Catch of the Day restaurant in Miami, Florida in early April of 2012. FEC Mot.
    Summ. J., Ex. 3, ECF No. 142-6, Nillo Dec. ¶ 4. Notably, this meeting is also documented
    by Rivera’s American Express Statement which reflects a charge on April 2, 2012 for
    food/beverage at Catch of the Day restaurant. FEC Mot. Summ. J., Ex. 4, ECF No. 142-7,
    AMEX 00009. Ms. Nillo further testified that she saw Rivera and Alliegro looking at a
    candidate’s campaign materials and that, while she did not know which candidate the
    materials belonged to, the name “Sternad” and the phrase “Democratic candidate” came up
    during the discussion between Rivera and Alliegro. FEC Mot. Summ. J., Ex. 3, ECF No.
    142-6, Nillo Dec. ¶ 4. Additionally, Ms. Nillo testified that a week after her meeting with
    Alliegro and Rivera at Catch of the Day, she met with Alliegro and Sternad at Miller’s Ale



                                             Page 23 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 24 of 39




    House in Miami, Florida. Id., ¶ 7. During that meeting, Ms. Nillo and Alliegro had a
    discussion with Sternad concerning how Ms. Nillo and Alliegro would be assisting the
    Sternad Campaign. Id. According to Ms. Nillo, when Sternad expressed concern about how
    his campaign would be funded, Alliegro “said not to worry, and that someone else would be
    taking care of that.” Id. Ms. Nillo also recalled Alliegro saying that “she needed to show Mr.
    Rivera things that she was working on for the Sternad Campaign”. Id., ¶ 9.
               4. DECLARATION OF HENRY BARRIOS
           In his Declaration, Henry Barrios, (“Mr. Barrios”), testified that in 2012 he was the
    owner of Inkpressions, Inc., d/b/a Expert Printing and Graphics (also known as Expert
    Printing and Marketing Solutions (“Expert Printing”)). FEC Mot. Summ. J., Ex. 10, ECF
    No. 142-13, Barrios Dec. ¶ 2. He further testified that, in July 2012, Alliegro contacted his
    business to price out campaign mailers, and that he provided costs estimates and prepared
    invoices to Alliegro’s business - “On Target Hispanic Marketing, Inc.” Id., ¶ 4. According to
    Mr. Barrios, the initial design work on this project was completed by Yolanda Rivas, Expert
    Printing’s Graphic Designer, who worked the weekend after the project began and was paid
    directly for her services. Id., ¶ 5. Mr. Barrios also testified that “[t]hat weekend, on a Saturday,
    David Rivera and Ana Alliegro both came to the print shop to review and edit the mailers as
    they were produced by Ms. Rivas. Mr. Rivera was there for pretty much the whole day and
    was actively engaged reviewing and making edits and changes to the mailers.” Id.
           Furthermore, “[a]fter Mr. Rivera arrived in town, [Mr. Barrios] was told not to invoice
    On Target Hispanic Marketing, but instead the Lamar Sternad Campaign.” Id., ¶ 6. Then,
    when Mr. Barrios inquired as to when he would be paid, Alliegro told him that he would be
    paid “when the ‘big [guy or man] comes from Washington.’” Id. Mr. Barrios testified that he
    “understood that to be a reference to Rivera. Because my payment was contingent upon
    David Rivera getting into town and because of his involvement in the content of the mailers,
    I understood this was Mr. Rivera’s project.” Id. Expert Printing was paid in full for all the
    campaign mailers described above. Id., ¶ 7. Mr. Barrios further testified that “the invoices for
    a first round of mailers were dated July 19, 2012, and totaled $20,430.21 . . . [and] [a]t David
    Rivera’s request, [Mr. Barrios] forwarded the mailer invoices to him by email on July 23,
    2012. The attachments to that email show invoices labeled by invoice numbers: ‘72616.pdf;
    72578.pdf; 72586.pdf; 72595.pdf; 72596.pdf; 72597.pdf; 72615.pdf.’” Id.


                                              Page 24 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 25 of 39




           The Court notes that Exhibit 1 (page IEPG 00001) to Mr. Barrios’ Declaration is a
    hard copy of an email, dated July 23, 2012 (8:09 am), from henry@expertprinting.com to
    rivera2004@comcast.net. Barrios Dec., Ex. 1, IEPG 00001. The body of the email states,
    “Hello David. Attached is [sic.] the invoices.” Id. And the email is signed “Henry Barrios”.
    Id. Below that signature is what appears to have been the physical address, phone number,
    website address, and logo for Expert Printing and Marketing Solutions. Id. Additionally, the
    email reflects that there were six pdf documents attached to the email which were labeled:
    72616.pdf; 72578.pdf; 72586.pdf; 72595.pdf; 72596.pdf; 72597.pdf; and 72615.pdf. Id.
           In his Declaration, Mr. Barrios also testified that an invoice for a part of a second
    round of mailers, dated August 9, 2012, was for $15,000.00. Id., ¶ 9. The Invoice for this
    round of mailers reflects that it was delivered to: Lemar Sternad for Congress, 1945 SW 21
    Terrace Miami FL 33145, Ana Alliegro. Barrios Dec., Ex. 2, IEPG 00058.
           Finally, in his Declaration, Mr. Barrios testified that “there was an additional, final
    portion of the second round of mailers for which we were asked to invoice a different entity,
    Florida Action Network. I did so, invoicing that entity on August 9, 2012 for $13,824.85. We
    received payment for that work through a check from what was identified as a Florida Action
    Network account.” Id., ¶ 10. That invoice was reflected through Exhibit 2 (page IEPG 00059)
    to Mr. Barrios’ Declaration.
               5. DECLARATION OF YOLANDA RIVAS
           For approximately 12 years, until 2017, Yolanda Rivas served as a graphic designer
    for Expert Printing in Miami, Florida, where she designed campaign materials for candidates
    running for public office. FEC Mot. Summ. J. Ex. 27, ECF No. 142-30, Rivas Dec., ¶ 3. In
    her Declaration, Ms. Rivas testified that “[s]ometime in July 2012, Mr. Barrios asked me if I
    could work over the weekend with Ana Alliegro in designing some campaign materials on a
    rush job for Expert Printing. I knew Ms. Alliegro through my work at Expert Printing. At the
    time I was asked to do the job, I did not know that this was for the campaign of Justin Lamar
    Sternad.” Id. ¶ 5. Importantly, Ms. Rivas further testified that both Alliegro and Rivera were
    present and directed her in completing the project on a weekend in July in 2012. More
    specifically, Ms. Rivas stated:
           The next day, Saturday, Ms. Alliegro arrived at the Expert Printing office, as
           did Congressman David Rivera. Henry Barrios, the owner of Expert Printing,
           was there as well. I remember this vividly because Mr. Rivera brought food


                                            Page 25 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 26 of 39




           from McDonald’s for everyone. I knew Mr. Rivera because I had previously
           designed campaign materials for him. I was surprised to see Mr. Rivera, and
           had no idea that he was there to work with Ms. Alliegro on the Sternad
           Campaign flyers too. However, as we began working it became clear to me that
           Mr. Rivera was there to work with Ms. Alliegro and me on the Sternad
           Campaign flyers. Mr. Rivera was at the Expert Printing office off and on
           throughout the day and evening on Saturday and Sunday. Mr. Rivera, Ms.
           Alliegro and I worked that entire weekend together on the Sternad flyers, and
           Mr. Rivera provided corrections and additions to the flyers that we designed. I
           did not see or speak to Sternad at all during the time Mr. Rivera, Ms. Alliegro
           and I were working on the Sternad flyers.
    Id. ¶¶ 7-8. Ms. Rivas also testified that Alliegro paid her directly for working on the
    project. Specifically, with respect to her payment, Ms. Rivas testified that “[o]n Sunday
    evening, Ms. Alliegro left the Expert Printing office and returned with an envelope of
    cash as payment for my work . . . Although I do not recall the exact amount of cash in
    the envelope, I do recall counting the money and noticing that it did not include all of
    our agreed payment. Ms. Alliegro left again and later returned with the additional
    payment in cash.” Id. ¶ 10. Additionally, Ms. Rivas testified that “[l]ater that month,
    Ms. Alliegro returned to Expert Printing again, as did David Rivera. I emailed a copy
    of one of the Sternad flyers to Mr. Rivera and Ms. Alliegro.” Id. ¶ 12.
           Exhibit 2 to Ms. Rivas’s Declaration is a copy of an email, dated July 31, 2012,
    from    Yoli@expertprinting.com       to     anaalliegro@gmail.com        and,   notably,
    rivera2004@comcast.net is cc’ed. The body of the email states, “[h]ere we go! Thank
    you and have a great day.”        The email is signed “Yolanda Rivas[,] Pre-Press
    Department[,] Expert Printing & Graphics[,] a Division of Inkpressions, Inc.” FEC
    Mot. Summ. J., Exhibit 28, EFC No. 31 at FEC01099. Finally, it should be noted that
    Ms. Rivas testified that the first time that she met Sternad was a week after she
    completed the work on the flyers. FEC Mot. Summ. J. Ex. 27, ECF No. 142-30, Rivas
    Dec., ¶ 11.
               6. DECLARATION OF HUGH COCHRAN
           In his Declaration, Hugh Cochran (“Mr. Cochran”) testified that he has been the
    owner and president of Campaign Data, Inc. since 1997. FEC Mot. for Summ. J. Ex. 11, ECF
    No. 142-14, Cochran Dec., ¶ 2. Mr. Cochran further testified that in the summer of 2012,
    Rivera asked him to obtain mail files and directed him to send the mail files to John Borrero



                                               Page 26 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 27 of 39




    of Rapid Mail and Computer Services. Id., ¶ 4. Mr. Cochran also testified that he assumed
    that he was gathering demographic data for Rivera’s campaign but after he emailed the files
    to John Borrero, John Borrero told him that the demographic data was actually for the
    Sternad campaign. Id. The emails that Mr. Cochran sent to John Borrero regarding the mail
    files show that Cochran referred to Rivera in the body and/or subject lines of the emails and
    the emails reflect that the files were for Rivera. See, Mot. Summ. J., Ex. 23, ECF No. 142-26,
    CADA-02267 through CADA-02270. For instance, in the July 16, 2012 email from Cochran
    (hugh@floridacampaigndata.com) to John Borrero (john@rapidmail.us), the subject of the
    email is “Mail files for David Rivera” and the body of the email states, “John, Here are three
    mail files for Rivera. Two go to Dade County and one goes to Monroe County.” FEC Mot.
    Summ. J., Ex. 23, ECF No. 142-26, CADA-02267.
               7. DECLARATION OF JOHN BORRERO
           John Borrero (“Mr. Borrero”) testified in his Declaration that he is the owner of Rapid
    Mail & Computer Services (“RMCS”) and, as such, he provides bulk and direct mailing
    services. FEC Mot. Summ. J., Ex. 12, ECF No. 142-15, Borrero Dec., ¶ 2. Mr. Borrero further
    testified that in the summer of 2012 Rivera hired him to provide mailing services in connection
    with the August 14, 2012 congressional primary election. Id., ¶ 4. At that the time that Rivera
    hired Mr. Borrero, Mr. Borrero thought that he was being hired to perform work in
    connection with Rivera’s campaign. Id. Mr. Borrero also testified that one month prior to the
    primary election, Rivera called him early one morning to obtain a cost estimate for mailers
    and during that conversation Rivera wanted to know if he could pay Mr. Borrero in cash. Id.,
    ¶ 5.
           Additionally, Mr. Borrero testified that three or four days before the first mailing, his
    company received the flyers but upon receipt he noticed that the flyers were for the “Sternad
    congressional campaign” so he called Rivera and informed of him of that fact. Id. ¶ 6. In
    response, Rivera confirmed that those were in fact the flyers that he wanted Mr. Borrero’s
    company to mail out using the addresses in the mail files supplied by Mr. Cochran. Id. Mr.
    Borrero also testified that Rivera later came into his office and provided the specific dates for
    when the Sternad flyers were to be mailed and reiterated that he would pay the invoices in
    cash. Id., ¶ 7. Mr. Borrero’s company sent out about twelve mailers for the Sternad campaign.
    Id., ¶ 9. During the course of this work, it became clear to Mr. Borrero that this was Rivera’s


                                             Page 27 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 28 of 39




    project and Alliegro was assisting him with it. Id., ¶ 8. In fact, when there was an issue with
    payment, Mr. Borrero talked about it with Rivera. Id. Likewise, when there were
    discrepancies between the directions he received from Rivera and Alliegro, Mr. Borrero
    contacted Rivera who informed Mr. Borrero that he should follow Rivera’s directions not
    Alliegro’s directions. Id.
           Mr. Borrero received most of the payments for the mailers in cash, and Alliegro
    “generally delivered Mr. Rivera’s cash payments in envelopes the day before each mailing
    was to be dropped, but Mr. Rivera may have delivered at least one of the envelopes containing
    a cash payment himself.” Id., ¶ 9. Moreover, Mr. Borrero testified that:
           On one of the days that a particular mailer was to be dropped, it was an
           especially rainy day. I did not receive a pre-payment in cash from either Ms.
           Alliegro or Mr. Rivera. I called Rivera to ask about the payment. I explained
           to Rivera that it was 12:30-1:00 p.m. and the Post Office would not take the
           mailers without being paid, and I could not front him the three or four thousand
           dollars that it would cost to mail the flyers. Mr. Rivera asked me if l had
           checked my company mailbox outside the office. I sent my assistant Vivian to
           the mailbox outside, and she returned with an envelope containing cash. Given
           the timing and the way Rivera directed me to check the company mailbox,
           Rivera had either delivered this money himself or overseen its delivery very
           closely.
    Id., ¶¶ 10-11.
           Mr. Borrero sent out two rounds of mailers. Id., ¶ 12. The first six mailers were sent in
    mid-July 2012, and the second round of six mailers began at the very end of July 2012 -- in
    the days leading up to the August 14, 2012 primary election. Id. With respect to the specifics
    of the mailers, Mr. Borrero’s Declaration states as follows:
           Mailer #1, Lamar for Congress. An RMCS invoice dated July 17, 2019 for
           the “Lamar for Congress July 12” mailing is attached at Exhibit 1, RMCS-
           00001. This invoice initially was for $2,624.35. My hand-written notation
           added a $100 rush charge, which with tax brought the total to $2,731.35. This
           is the amount that Mr. Rivera paid for this mailer. Another of my handwritten
           notations on the face of the invoice confirms this invoice was paid in cash. A
           copy of the mailer is attached at Exhibit 1, RMCS-00057-58.

           Mailer #2 Obamacare/Trayvon. An RMCS invoice for the “Mailer #2
           Obamacare/Trayvon” mailer is attached at Exhibit 2, RMCS-00003. This
           invoice was for $2,624.35. This is the amount that Mr. Rivera paid for this
           mailer. My handwritten notation on the face of the invoice confirms this
           invoice was paid in cash. This invoice is undated but occurred between July 17
           and 24, the dates of the invoices for the first and third mailers. A copy of the


                                            Page 28 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 29 of 39




         mailer is attached at Exhibit 2, RMCS-00052-53.

         Mailer #3 Believes in America Too. An RMCS invoice dated July 24, 2012
         for “Believes in America Too Mailer #3” is attached at Exhibit 3, RMCS-
         00005. This invoice was for $2,624.35. This is the amount that Mr. Rivera paid
         for this mailer. My handwritten notations on the face of the invoice confirms
         this invoice was paid in cash. A copy of the mailer is attached at Exhibit 3,
         RMCS-00061-62.

         Mailer #4 Lamar for Congress. An RMCS invoice dated July 24, 2012 for
         “Lamar for Congress Mlg #4” is attached at Exhibit 4, RMCS-00007. This
         invoice was for $2,624.35. This is the amount that Mr. Rivera paid for this
         mailer. My handwritten notation on the face of the invoice confirms this
         invoice was paid in cash. A copy of the mailer is attached at Exhibit 4, RMCS-
         00069-70.

         Mailer #5 Lamar for Congress. An RMCS invoice dated July 24, 2012 for
         “Lamar for Congress Mlg #5” is attached at Exhibit 5, RMCS-00009. This
         invoice was for $2,624.35. This is the amount that Mr. Rivera paid for this
         mailer. My handwritten notations on the face of the invoice confirms this
         invoice was paid in cash on July 24, 2012. A copy of the mailer is attached at
         Exhibit 5 RMCS-00063-64.

         Mailer #6 Lamar for Congress. An RMCS invoice dated July 24, 2012 for
         “Lamar for Congress Mlg #6” is attached at Exhibit 6, RMCS-000011. This
         invoice was for $2,624.35. This is the amount that Mr. Rivera paid for this
         mailer. My handwritten notations on the face of the invoice confirms this
         invoice was paid in cash. A copy of the mailer is attached at Exhibit 6 RMC -
         00065-66. My handwritten notation on the Job Master report, attached as part
         of Exh. 12 at RMC -00010, shows RMCS provided this invoice to Rivera.

         Second Round Mailing, Six Mailers. Attached as Exhibit 7 are RMCS
         invoices for six mailers, identified as “Lamar Second Round Mlg” or “Lamar
         Second Round 6-Mlgs,” The first invoice is dated July 30, 2012, and updates
         and revisions are provided in invoices dated August 6, 7, 18, and 28, 2012. The
         second round included the mailer attached at Exhibit 7, USPS-000043-44. The
         total invoiced, as reflected in the August 28, 2012 invoice at RMCS- 00016,
         was $31,044. Mr. Rivera paid in cash for $22,044 of these services. Several
         handwritten notations on the invoices reflect payment in cash.

         $9000 of the payments for the second round of six mailers was paid through a
         check from Expert Printing. My handwritten notation on the face of the August
         28, 2012 invoice in Exhibit 7 at RMCS-00016 reflects that payment by check
         and that the remaining balance was paid in cash. My company mailed these
         pieces at the Miami General Mail Facility (“MIA”) and at the South Florida
         Station in Pembroke Pines, Florida (“South Florida”). As part of the work on


                                         Page 29 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 30 of 39




             the Sternad mailers for Mr. Rivera, I received emails from Hugh Cochran of
             Campaign Data, Inc. with mail address zip files attached (copies attached as
             Exhibit 11 with attachments omitted). These files of mail addresses were for
             the targeted mailing of the Sternad flyers. The text of the emails subject lines,
             and attachment file names all stated that these were the “Mail Files for David
             Rivera.” Many of the emails sent to me with the mail files attached also copied
             Rivera. At Rivera’s request, I sent directly to Rivera by email price quotes for
             the work he proposed that RMCS complete on the Sternad mailings. A copy of
             one of those emails is attached at Exhibit 11, RMCS-00051.

             The RMCS business records attached at Exhibits 1-11 are true and accurate
             copies maintained by RMCS in the regular course of its business activities and
             the USPS records reflect those transactions. I have also reviewed the
             documents with RMCS bates numbers 00001-000171, produced to the Federal
             Election Commission by the United States Attorney’s Office, they are true and
             accurate copies of RMCS business records maintained in the ordinary course
             of its business that RMCS had previously submitted to the United States
             Attorney’s Office.

    Id., ¶¶ 13-21, 25-26. And, sure enough, the invoices, business records, and other documents
    referenced in the above were attached to Mr. Borrero’s Declaration. Moreover, those
    invoices, records, and documents confirmed Mr. Borrero’s above testimony. It should also be
    noted that Mr. Borrero’s deposition testimony was consistent with his Declaration. See, e.g.,
    FEC Mot. for Summ. J., Ex. 29, ECF No. 142-32, Borrero Dep. 168:3-170:6; 182:11-183:23.
                 8. OTHER DOCUMENTARY EVIDENCE ESTABLISHING RIVERA’S LIABILITY
             In addition to the above (as well as the documents and exhibits attached to and/or
    referred in the declarations and depositions discussed above), the FEC proffered a plethora of
    other documentary exhibits to further outline the scheme that Rivera and Alliegro
    orchestrated. The Court will only highlight the following:
                 a. The transcript of a conversation between Rivera and Alliegro, on June 5, 2012,
                    that was recorded on Alliegro’s cellphone. During that conversation Rivera and
                    Alliegro discussed the strategic timing of when Rivera (through Bill Helmich)
                    should submit the qualifying paperwork in Tallahassee, Florida for a particular,
                    but not specified, candidate. FEC Mot. Summ. J., Ex. 26, ECF No. 142-29.

                 b. An FBI Phone Examination Report, FEC Mot. Summ. J., Ex. 30, ECF No.
                    142-33 (AZPT 00001 through AZPT 00059). This Report contains text
                    messages exchanged amongst and between Alliegro’s cellphone, Rivera’s
                    cellphone, and Sternad’s cellphone. 5 In sum, amongst other matters, the

    5
        In his Responses to the FEC’s Interrogatories, Rivera confirmed that his cellphone number


                                              Page 30 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 31 of 39




                   substance of these text messages relate to the Sternad Campaign, the FEC
                   filings for the Sternad Campaign, the Miami Herald’s investigation of and
                   articles concerning the Sternad Campaign, Sternad’s post-campaign

    is: (786) 258-2222. FEC Mot. Summ. J., Ex. 31, ECF No. 142-34 at 3. Similarly, in his
    Declaration, Sternad confirmed that, from on or about April 2012 through August 2012, he
    used a cellphone that Alliegro provided to him and the phone number for that cellphone was:
    (786) 548-5008. FEC Mot. Summ. J., Ex. 32, ECF No. 142-35 at ¶ 8. Additionally, in his
    Declaration, Sternad confirmed that, during the relevant period for this action, Alliegro used
    two cellphones with the phone numbers: (305) 506-7396 and (850) 590-2939. Id. Finally,
    Sternad also confirmed that the FBI Examination Report (FEC Mot. Summ. J., Ex. 30, ECF
    No. 142-30 (bates numbered as AZTP 00001 through AZTP 00059)) “contains printouts of
    text messages and logs of calls that to the best of [his] recollection, [he] sent to and received
    from Ms. Alliegro using the number (786) 548-5008.” FEC Mot. Summ. J., Ex. 32, ECF No.
    142-35 at ¶ 9. Pursuant to the Agreed Order Granting Government’s Sealed Motion Seeking
    Modification of Order Granting Federal Election Commission’s Petition for Disclosure of
    Grand Jury Materials, entered in this case at ECF No. 92, the United States Attorney’s Office
    was authorized to disclose to the FEC and Rivera, amongst other materials, the “documents,
    discs, and recordings identified in ECF No. 17, Case No. 14-CR-20102-RNS.” ECF No. 92 at
    3.
           Continuing down the rabbit hole, in relevant part, ECF No. 17 at 4 in Case Number
    14-cr-20102-RNS, states:
           During the search of defendant Ana Alliegro’s apartment, the Government
           seized computers, cellphones, electronic devices, and electronic media. . .
           Among the aforementioned identified items which were seized pursuant to said
           warrant, the following items are provided in defendant’s copy of this response
           to the standing discovery order and are more specifically identified as . . . AZTP
           00001 to AZTP 00103.
    United States v. Alliegro, Case no. 14-CR-20102-RNS, ECF No. 17 at 4. Thus, the text
    messages contained in Exhibit 30 to the FEC’s Motion (ECF No. 142-30 (bates labeled
    as AZTP 00001 through AZTP 00103)) were seized as part of a search of Alliegro’s
    apartment that was conducted pursuant to a lawful search warrant. Moreover, the
    docket in Alliegro’s criminal case does not reflect that the cellphones and text messages
    seized from her apartment were found to be unlawfully seized. Nor does that docket
    reflect that the Court made a finding that the cellphones seized from Alliegro’s
    apartment did not belong to her. Indeed, Alliegro’s cellphone and the search of her
    cellphone were even referenced during the factual proffer supporting Alliegro’s plea
    colloquy. FEC Mot. Summ. J., Ex. 25, ECF No. 142-28 at 20. And, assuming that he
    would have the standing to do so and such a claim could even be asserted at this late
    juncture (which is debatable at best), Rivera has not challenged the lawful seizure of
    Alliegro’s cellphones nor has he argued or even suggested that the cellphones at issue
    were not Alliegro’s cellphones. Rivera’s opposition brief is entirely silent on this point.
    The Court, therefore, finds that the text messages identified in Exhibit 30 to FEC’s
    Motion were found on and were sent from and/or to Alliegro’s cellphones.



                                              Page 31 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 32 of 39




                        employment issues/concerns, the Joe Garcia campaign, Sternad campaign
                        advertising, Sternad campaign strategy, the Rivera Campaign, and potential
                        criminal liability. FEC Mot. Summ. J., Ex. 30, ECF No. 142-33 (bates
                        numbered as AZTP 00001 through AZTP 00059).

                     c. An FBI Extraction Report, FEC Mot. Summ. J., Ex. 35, ECF No. 142-38,
                        which contains call logs and text messages to and from Alliegro’s cellphone. 6
                        The call logs and text messages reflect ongoing communications from and
                        between Alliegro, Rivera, and Sternad related to strategy in the 2012
                        Democratic Primary and how to handle the post-election investigations.
                        Notably, Alliegro served as the “middleman” in these communications.

                     d. A FedEx Shipment Information Report reflecting a shipment from Rivera to
                        Bill Helmich, shipped on June 2, 2012. FEC Mot. Summ. J., Ex. 40, ECF No.
                        142-40.

                     e. Sternad’s FEC Reports (including explanatory cover letters and amended
                        filings). These reports served as numbered exhibits to Sternad’s Deposition and
                        were submitted as numbered exhibits (7, 8, 9, 39, 40, and 41) to FEC’s Motion
                        for Summary Judgment (ECF Nos. 142-10, 142-11, 142-12, 142-42, 142-43, and
                        142-44). In short, Sternad’s FEC filings demonstrate that he failed to report
                        cash contributions and falsely reported that cash contributions were loans to
                        his campaign committee from his personal funds. See ECF No. 142-10, 142-11,
                        142-12, and 142-42. Presumably in an effort to rectify his previous false FEC
                        reports/filings, on January 16, 2014, Sternad filed his amended FEC reporting
                        forms and explanatory cover letters through which he advised of the roles that
                        “Alliegro and/or Rivera” played in providing financial contributions to his
                        campaign. See ECF Nos. 142-43 and 142-44.

    The above documentary exhibits further clarify and crystallize Rivera’s liability in this matter
    as they corroborate the testimonial evidence submitted in support of the FEC’s Motion. This
    is especially true given that, as previously discussed, Rivera’s opposition to the FEC’s Motion
    is limited to evidentiary arguments concerning Alliegro’s grand jury and plea colloquy
    testimony.
              III.      RIVERA’S EVIDENCE FAILS TO CONTROVERT THE FEC’S EVIDENCE
              As discussed throughout this Order, Rivera’s opposition relies upon his unfounded
    contentions that the Court purportedly cannot consider Alliegro’s grand jury and plea
    colloquy testimony as part of its resolution of FEC’s Motion. To further support his
    opposition, Rivera relies upon the following exhibits to his statement of undisputed facts in


    6
        See supra note 5.


                                                 Page 32 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 33 of 39




    opposition to FEC’s Motion: 1) Exhibit A, excerpts from the deposition of Sternad; 2) Exhibit
    B, excerpts from the deposition of John Borrero; 3) Exhibit C, an affidavit from Rivera; 4)
    Exhibit D, another affidavit from Rivera; 5) Exhibit E, Alliegro’s Bar Complaint against
    Assistant U.S. Attorney Thomas Mulvihill; and 6) Exhibit F, a complaint Alliegro
    purportedly filed with the U.S. Department of Justice’s Office of Professional Responsibility.
    The Court has reviewed these exhibits and finds them wanting. Specifically, these exhibits fail
    to demonstrate a genuine issue of fact that would preclude the Court from entering summary
    judgment in favor of the FEC.
           First, when the excerpts of the depositions that Rivera proffered are reviewed as a
    whole with the entirety of those depositions (as opposed to just spliced and cherry-picked
    pages), it becomes quite evident that Sternad and Borrero did not testify in the manner that
    Rivera suggests. This becomes even more evident when the Sternad and Borrero declarations
    are reviewed.
           Second, Rivera’s affidavits fail to create an issue of fact in light of the previously
    described abundant evidence in support of the FEC’s Motion. “[T]here must exist a conflict
    in substantial evidence to pose a jury question.” Hall v. Sunjoy Indus. Group, Inc., 764 F. Supp.
    2d 1297, 1301 (M.D. Fla. 2011) (citation omitted). “When opposing parties tell two different
    stories, one of which is blatantly contradicted by the record, so that no reasonable jury could
    believe it, a court should not adopt that version of the facts for purposes of ruling on a motion
    for summary judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007). Here, the record evidence
    in this case blatantly and overwhelmingly contradicts Rivera’s story.
           And, finally, the Court finds that Alliegro’s complaints against Mr. Mulvihill do not
    create an issue of fact. In doing so, the Court adopts and incorporates its discussion in Section
    I.A herein.
           It, moreover, must be noted that Rivera’s opposition brief did not contest the testimony
    of Sternad, Jenny Nillo, Henry Barrios, Yolanda Rivas, Hugh Cochran, or John Borrero. Nor
    did the opposition brief contest or even address the testimony of Alliegro other than in its
    misguided efforts to have that testimony precluded from consideration. Accordingly, the
    testimonial evidence in this case establishes that Rivera orchestrated a scheme in which he
    made unlawful contributions in the name of another to the Sternad campaign for the purpose
    of undermining Joe Garcia’s campaign. Rivera accomplished this by using Alliegro and other


                                             Page 33 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 34 of 39




    third parties to make cash payments on behalf of the Sternad campaign. Additionally, the
    uncontested testimonial evidence adduced in this case shows that Rivera directed Sternad to
    file false reports with the FEC. Therefore, the Court holds that the FEC is entitled to summary
    judgment in this matter.
           IV.     RIVERA’S CIVIL PENALTY
           The Court having determined that the FEC is entitled to summary judgment must now
    fashion a civil penalty against Rivera for his violation of 52 U.S.C. § 30122. The FEC contends
    that the Court should enter a civil penalty of $456,000 against Rivera because he “knowingly
    and willfully made $75,927.31 in contributions in the name of another.” FEC Mot. Summ.
    J., ECF No. 142 at 16. Oddly, Rivera’s opposition brief is silent on this issue. 7
           In relevant part, the 2012 version of 11 C.F.R. § 111.24 provides:
                   (a) Except as provided in 11 CFR part 111, subpart B and in paragraph
                   (b) of this section, a civil penalty negotiated by the Commission or
                   imposed by a court for a violation of the Act or chapters 95 or 96 of title
                   26 (26 U.S.C.) shall be as follows:

                           (1) Except as provided in paragraph (a)(2) of this section, in the
                   case of a violation of the Act or chapters 95 or 96 of title 26 (26 U.S.C.),
                   the civil penalty shall not exceed the greater of $7,500 or an amount
                   equal to any contribution or expenditure involved in the violation.

                          (2) Knowing and willful violations.

                          (i) In the case of a knowing and willful violation of the Act or
                          chapters 95 or 96 of title 26 (26 U.S.C.), the civil penalty shall
                          not exceed the greater of $16,000 or an amount equal to 200% of
                          any contribution or expenditure involved in the violation.

                          (ii) Notwithstanding paragraph (a)(2)(i) of this section, in the
                          case of a knowing and willful violation of 2 U.S.C. 441f 8, the
                          civil penalty shall not be less than 300% of the amount of any
                          contribution involved in the violation and shall not exceed the
                          greater of $60,000 or 1,000% of the amount of any contribution

    7
      Rivera also fails to address this issue in his own summary judgment motion. See ECF No. 139.
    Nor does he address it in his reply brief submitted in support of his summary judgment motion.
    See ECF No. 152. And it goes without saying that Rivera did not address this issue in his statement
    of uncontroverted facts submitted in support of his motion for summary judgment. See ECF No.
    140. Thus, Rivera has not made any opposition to the FEC’s contentions regarding the Court’s
    issuance of a civil penalty in this case.
    8
      2 U.S.C. § 441f was editorially reclassified as 52 U.S.C. § 30122.


                                              Page 34 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 35 of 39




                          involved in the violation.

    11 C.F.R. § 111.24. “FECA grants district courts broad authority to fashion remedies for
    violations of the statute.” Fed. Election Comm'n v. Craig for U.S. Senate, 816 F.3d 829, 847 (D.C.
    Cir. 2016). This Court in exercising its discretion to determine an appropriate civil remedy in
    this case considers the following factors: “(1) the good or bad faith of the defendants; (2) the
    injury to the public; (3) the defendant's ability to pay; and (4) the necessity of vindicating the
    authority of the responsible federal agency.” Fed. Election Comm'n v. Craig for U.S. Senate, 70
    F. Supp. 3d 82, 97 (D.D.C. 2014), aff'd, 816 F.3d 829 (D.C. Cir. 2016) (quoting FEC v.
    Furgatch, 869 F.2d 1256, 1258 (9th Cir.1989) (citing United States v. Danube Carpet Mills, Inc.,
    737 F.2d 988, 993 (11th Cir.1984)).
                   A. RIVERA’S VIOLATIONS WERE KNOWING AND WILLFUL
           Based upon the evidence adduced in this case, the Court finds that Rivera knowingly
    and willfully violated 52 U.S.C. § 30122 when he orchestrated and participated in a scheme
    to make contributions in the name of another. “In 2012 [Rivera] was the incumbent
    congressman for the 25th Congressional District.” Statement of Uncontroverted Facts in
    Support of Rivera’s Motion for Summary Judgment, Ex. D (Affidavit of David Rivera), ECF
    No. 140-4. As a U.S. Congressman, at that time, Rivera was well aware of and understood
    FECA’s requirements that campaign contributions must be accurately disclosed to the public.
    Yet, Rivera still acted in a manner to avoid FECA’s disclosure requirements.
           Moreover, Rivera’s acts of: using cash to make contributions to the Sternad Campaign
    to thereby avoid a paper trail reflecting that he was the source of the contributions; utilizing
    Alliegro and other third parties as the “middleman” in the scheme to transfer funds to and/or
    pay invoices on behalf of the Sternad Campaign; and directing Sternad, through Alliegro, in
    how to complete and submit false FEC filings, amongst other actions, demonstrate Rivera’s
    bad faith. And these actions show that Rivera had full knowledge of the facts as well as the
    unlawful nature of his actions. See United States v. Whittemore, 944 F. Supp. 2d 1003, 1006 (D.
    Nev. 2013), aff'd, 776 F.3d 1074 (9th Cir. 2015) (“The court finds that the ‘willfulness’
    requirement for violations of § 441f means general knowledge of unlawful conduct.”) (citing
    Bryan v. United States, 524 U.S. 184, 196 (1998)). Accordingly, the Court agrees with the FEC
    that the evidence adduced in this case demonstrates that Rivera knowingly and willfully made
    $75,297.31 in contributions to the Sternad campaign in the name of another. In accordance


                                             Page 35 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 36 of 39




    with 11 C.F.R. § 111.24, the maximum penalty possible against Rivera would be $752,973.10.
                  B. RIVERA’S VIOLATIONS INJURED THE PUBLIC
           As previously mentioned, in fashioning a penalty for Rivera’s actions, the Court must
    evaluate where Rivera’s violations of FECA injured the public. Craig, 70 F. Supp. 3d at 97.
    Here, it is hard to imagine a scenario in which Rivera’s brazen violations of FECA would not
    have injured the public. As the court in Craig recognized, “there is always harm to the public
    when FECA is violated.” Id. at 99. Here, the public was harmed when it was fed false
    information regarding the true financier of Sternad’s campaign. These types of violations
    serve to erode and undermine the public’s confidence in its representative democracy. This is
    no laughing matter. Representative democracy is the cornerstone of the United States of
    America’s entire system of government. And, as a U.S. Congressman – at that time – Rivera
    was or should have been keenly aware of that fact. The Court therefore finds that Rivera’s
    brazen violations harmed the public because the electorate was deprived of accurate
    information regarding Rivera’s role in financing Sternad’s campaign. See Furgatch, 869 F.2d
    at 1259 (9th Cir. 1989) (“The importance of the FECA's reporting and disclosure provisions,
    and the difficulty of proving that violations of them actually deprived the public of
    information, justify a rule allowing a district court to presume harm to the public from the
    magnitude or seriousness of the violation of these provisions.”).
                  C. RIVERA HAS THE ABILITY TO PAY THE FINE
           Next, the Court finds that Rivera has the ability to pay the fine that the FEC has
    requested in this matter. The FEC is seeking a fine of $456,000 or 700% of the amount at issue
    in Rivera’s violations of FECA’s ban against contributions in the name of another. As
    previously discussed, the FEC could have sought a fine of 1,000% of the $75,927.31 worth of
    contributions that Rivera illegally made in the name of another. To demonstrate Rivera’s
    ability to pay the $456,000 fine, the FEC has presented this Court with Rivera’s 2015
    Disclosure Statement, filed in 2016, in which he asserted that his net worth was $1,511,968.
    FEC Mot. Summ. J., Ex. 36, ECF No. 142-37. Further, the FEC has advised this Court of a
    2020 breach of contract action pending against Rivera’s consulting firm in which it is alleged
    that the firm, Interamerican Consulting, Inc., was paid $15 million pursuant to a $50 million
    contract. See PDV USA, Inc., v. Interamerican Consulting, Inc., 2020 WL 2479227 (S.D.N.Y.)
    (alleging “PDV USA was injured by the Defendant’s breach of the Agreement. PDV USA


                                            Page 36 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 37 of 39




    paid the first three invoices issued by Defendant, a total of $15 million, but received no
    evidence that any services were ever performed on behalf of PDV USA or PDVSA.”). The
    Court, on its own initiative, has reviewed the State of Florida’s Division of Corporations
    online records and has determined that Rivera is in fact the President of Interamerican
    Consulting, Inc. 9 The Court, therefore, finds that Rivera has the ability to pay a $456,000 fine
    in this case. In reaching this conclusion the Court notes that such a civil penalty will also
    vindicate the FEC’s authority and strengthen its ability to enforce 52 U.S.C. § 30122.
            V.    PERMANENT INJUNCTION
           The FEC requests that the Court declare that Rivera violated 52 U.S.C. § 30122 and
    permanently enjoin him from violating this provision again. “An injunction is appropriate ‘if
    there is a reasonable likelihood that the wrong will be repeated.’” Craig, 70 F. Supp. 3d at
    101–02 (quoting FEC v. Am. Fed. of State, Cnty., & Mun. Employees–P.E.O.P.L.E. Qualified, No.
    88–3208(RCL), 1991 WL 241892, at *1 (D.D.C. Oct. 31, 1991); see also FEC v. Friends of Jane
    Harman, 59 F.Supp.2d 1046, 1057, 1059 (C.D. Cal.1999) (declining to issue an injunction
    where: the case “involve[d] a detailed analysis of complex statutes and regulations,” the
    defendants’ violations were not “substantial nor obvious,” the Harman campaign no longer
    existed, and Representative Harman was no longer in office). The Court finds that a
    permanent injunction is appropriate here. Rivera’s illegal conduct was egregious. Again,
    amongst other acts, Rivera: used cash to make contributions to the Sternad Campaign to
    avoid a paper trail; utilized Alliegro (and other third parties) as the “middleman” in the
    scheme to transfer funds to and/or pay invoices on behalf of the Sternad Campaign; and
    directed Sternad, through Alliegro, in how to complete and submit false FEC filings. These
    acts demonstrate Rivera’s awareness that making contributions in the name of another is
    illegal; yet, Rivera orchestrated this unlawful scheme despite his awareness of its illegality.
           Moreover, there is a danger that Rivera’s conduct will continue. First and foremost,


    9
      The Court can and does take judicial notice of the State of Florida’s public record reflecting
    Interamerican Consulting, Inc.’s January 27, 2021 Annual Report that was submitted by
    Rivera and identifies Rivera as the President of Interamerican Consulting, Inc. See In re
    Willingham, 3:11-AP-00269-JAF, 2014 WL 3697556, at *2 (Bankr. M.D. Fla. July 18, 2014)
    (“A court may take judicial notice of the records of the State of Florida, Division of
    Corporations.”) (citing Milliken v. Kranz Tree Serv., Inc., No. 6:08–cv–822–Orl–28–DAB, 2008
    WL 4469882 at *1 n.1 (M.D. Fla. Oct. 2, 2008)).


                                             Page 37 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 38 of 39




    as his filings in this case demonstrate, Rivera continues to refuse to take responsibility for his
    illegal conduct. And, second, Rivera continues to run for office. In his Answer to the FEC’s
    Amended Complaint, Rivera admitted that “[i]n March 2017, [he] filed paperwork with the
    Florida Division of Elections as a candidate in 2018 for election to represent Florida’s 105th
    House District.” ECF No. 50 at ¶ 6. Thus, there is a distinct possibility that Rivera will run
    for federal office again. As a result of the above, the Court agrees that an injunction is
    appropriate here to prevent Rivera from making contributions in the name of another (i.e.
    violating 52 U.S.C. § 30122) in the future. See Fed. Election Comm'n v. O'Donnell, CV 15-17-
    LPS, 2017 WL 1404387, at *5–6 (D. Del. Apr. 19, 2017) (holding that a permanent injunction
    was warranted where the defendant had not stated that she would not run for federal office
    again, the defendant continued to operate her political action committee, and the defendant’s
    violations of FECA involved her using campaign funds to pay for her personal residence and
    utilities for multiple years).
           In essence, the Court will be permanently enjoining Rivera from committing future
    violations of 52 U.S.C. § 30122. This seems unnecessary considering that violating 52 U.S.C.
    § 30122 is already unlawful and prohibited conduct under the very terms of the statute;
    nonetheless, based upon Rivera’s past conduct it is necessary for this Court to also bar him
    from violating the statute. Perhaps by virtue of the Court barring Rivera from engaging in
    similar unlawful conduct in the future, “that will do the trick” in convincing Rivera – a former
    U.S. Congressman – to stop violating the law.
                                             CONCLUSION
           In short, as discussed above, the Court finds that the FEC has demonstrated its
    entitlement to summary judgment in this case. Therefore, for the reasons asserted above, it is
    ORDERED and ADJUDGED as follows:
           1. FEC’s Motion for Summary Judgment (ECF No. 142) is GRANTED.
           2. Rivera’s Motion for Summary Judgment (ECF No. 139) is DENIED.
           3. By separate order, the Court will issue a civil penalty against Rivera in the amount
               of $456,000.
           4. Additionally, by separate order, the Court will enter a permanent injunction
               against Rivera to prohibit him from making campaign contributions in the name
               of another in violation of 52 U.S.C. § 30122.


                                             Page 38 of 39
Case 1:17-cv-22643-MGC Document 163 Entered on FLSD Docket 02/23/2021 Page 39 of 39




            5. Within ten days of the date of this Order, the FEC shall provide the Court with a
               proposed order setting forth the civil penalty and permanent injunction to be
               entered against Rivera.
            6. FEC’s Consent Motion to Modify Scheduling Order (ECF No. 134) and Rivera’s
               Agreed Motion to Reschedule Trial Date and Trial Related Deadlines (ECF No.
               162) are DENIED AS MOOT.
            DONE and ORDERED in Chambers at Miami, Florida this 23rd day of February
    2021.




    Copies furnished to:

    Jonathan Goodman, U.S. Magistrate Judge
    Counsel of Record




                                           Page 39 of 39
